                                 Case 19-12670-JTD                       Doc 1          Filed 12/13/19              Page 1 of 33

     Fill in this information to identify the case:

     United States Bankruptcy Court for the:
         Delaware               District of Delaware
     -     -   - - --     --                (State)

     Case number (If known): - --     - - --           - - - Chapter_1_1_                                                                        1:1   Check if this is an
                                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                   04119

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more Information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.        Debtor's name                          Vector Launch Inc.



2.       All other names debtor used             Vector Space Systems
         in the last 8 years                     Vector
                                                 GalacticSky
          Include any assumed names,
          trade names, and doing business
          as names


3.       Debtor's federal Employer               8 1          1784147
         Identification Number (EIN)



4.       Debtor's address                       Principal place of business                                  Mailing address, If different from principal place
                                                                                                             of business

                                                 350           S Toole Avenue
                                                Number        Street                                         Number      Street

                                                                                                             PO BOX 14928
                                                                                                             P.O. Box
                                                Tucson                           AZ.       85701             Long Beach                   CA              90853
                                                City                            State      ZIP Code          City                        State           ZIP Code


                                                                                                             Location of principal assets, if different from
                                                                                                             principal place of business
                                                Pima
                                                County
                                                                                                             Number      Street




                                                                                                             City                        State           ZIP Code




s. Debtor's website (URL)                       https://vector-launch.com


s. Type of debtor
                                                Iii Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)}
                                                D Partnership (excluding LLP)
                                                D Other. Specify: - -- -- - -- -- - -- - -- - - -- -- - - - -

Official Fonm 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
                                Case 19-12670-JTD                    Doc 1          Filed 12/13/19               Page 2 of 33

Debtor           Vector Launch Inc.                                                                  Case number tif!mwnJ _ _ __ __ _ _ _ _ _ __
                 Name


                                       A. Check one:
1.    Describe debtor's business
                                       D Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       D Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
                                       D Railroad (as defined in 11 U.S.C. § 101(44))
                                       D Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                       D Commodity Broker (as defined in 11 U.S.C. § 101 (6))
                                       D Clearing Bank (as defined in 11U.S.C.§781(3))
                                       Iii None of the above

                                       B. Check all that apply:

                                       D     Tax-exempt entity (as described in 26 U.S.C. § 501)
                                       D     Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                       D     Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11 ))


                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://Wv-Nv.uscourts.gov/four-digit-national-association-nalcsccod es .
                                             _3_ _3_ _6_             - 4_

s.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                    D     Chapter?
                                       D     Chapter9
                                       Iii   Chapter 11. Check all that apply:
                                                               D    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                   4101122 and every 3 years after that).
                                                               D    The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                   of operations, cash-flow statement, and federal income tax return or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(B).

                                                               D   A plan is being filed with this petition.

                                                               D   Acceptances of the plan were solicited pre petition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               D   The debtor is required to file periodic reports (for example, 1OK and 1OQ) with the
                                                                   Securities and Exchange Commission according to§ 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                   for Bankruptcy under Chapter 11 (Official Form 201 A) with this form.

                                                               D   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.
                                       D     Chapter 12

9. Were prior bankruptcy cases         liiiiil No
     filed by or against the debtor
     within the last 8 years?          D     Yes.   District - - - - - - - - When                                      Case number - - - - - - - - -
                                                                                                    MM I DD I YYYY
     If more than 2 cases, attach a
     separate list.                                 District _ _ _ __ _ _ _ When                                       Case number _ _ _ _ _ _ _ __
                                                                                                    MM I DD/YYYY

10. Are any bankruptcy cases           0 No
     pending or being filed by a
                                       Iii Yes.     Debtor     _G_a_rv_e_y_S_p_a_c_e_c_r_a_ft_C_o_r_p_o_ra_t_io_n___   Relationship   Subsidiary
     business partner or an
     affiliate of the debtor?                       District   _D
                                                                _e_l_a_w_a_r_e____________                             When           12 / 13 I 2019
     List all cases. If more than 1,                                                                                                  MM I   DD   /YYYY
     attach a separate list.                        Case number, if known -       - -- - - - - - - -


 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
                              Case 19-12670-JTD                  Doc 1         Filed 12/13/19              Page 3 of 33


Debtor            Vector Launch Inc.                                                           Case number (lf1<no...,J_ _ __ _ _ _ __ __ __
                  Name




11. Why is the case filed in this      Check all that apply:
      district?
                                       Iii   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                       0     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.
---------------------
12. Does the debtor own or have        Iii No
      possession of any real           Q Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                  0   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _ _ _ __ _ _ __ _ _ __ __ _ _ __ __ _ _ __

                                                  0   It needs to be physically secured or protected from the weather.

                                                  0   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).
                                                  0   Other _ _ _ _ _ _ _ _ _ __ __ _ __ _ __ _ __ __ __



                                                  Where is the property? _ __ _ __ _ __ _ _ __ _ _ __ _ __ _ _ _ __
                                                                         Number  Street



                                                                             City                                             State       ZIP Code


                                                  Is the property insured?
                                                  0   No
                                                  0   Yes. Insurance agency--- - - -- - -- - - - -- - -- - -- - --

                                                           Contact name

                                                           Phone



            Statistical and administrative Information



13. Debtor's estimation of             Check one:
      available funds                  Iii   Funds will be available for distribution to unsecured creditors .
                                       0     After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                       a 1-49                             a 1,000-5,ooo                              a 25,001-50,000
14.   Estimated number of
      creditors
                                       a 50-99                            D 5,001-10,000                             D   50,001-100,000
                                       a 100-199                          a 10,001-25,000                            0   More than 100,000
                                       Iii 200-999

                                       a $0-$50,000                       a $1,000,001-$10 million                   a $500,000,001-$1 billion
16.   Estimated assets                 a $50,001-$100,000                 rm $10,000,001-$50 million                 D $1,000,000,001-$10 billion
                                       a $100.001-$500.000                a $50,000,001-$100 million                 a $10,000,000,001 -$50 billion
                                       a $500,001-$1 million              a $100,000,001-$500 million                0   More than $50 billion




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
                            Case 19-12670-JTD                       Doc 1             Filed 12/13/19          Page 4 of 33

Debtor         Vector Launch Inc.                                                                   Case number Ullno•m),_ _ __        _   _   _   _ _ __ __
              Name


                                        D   $0-$50,000                          iii   $1,000,001-$10 million               D      $500,000,001-$1 billion
16. Estimated liabilities
                                        D   $50,001-$100,000                    D     $10,000,001 -$50 million             D      $1,000,000,001-$10 billion
                                        D   $100,001-$500,000                   D     $50,000,001-$100 million             D      $10,000,000,001-$50 billion
                                        D   $500,001-$1 million                 D     $100,000,001-$500 million            D      More than $50 billion




             Request for Rellef, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


11. Declaratlon and signature of        •    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                             petition.
      debtor

                                        •    I have been authorized to file this petition on behalf of the debtor.

                                        •    I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on     12      / 13 / 2019
                                                            MM I DD /YYYY

                                        X Isl Shaun Martin                                                   Shaun Martin
                                            Signature of authorized representative of debtor                Printed name

                                            Title Chief Restructuring Officer




1s.   Signature of attorney             X Isl E.E. Allinson III                                             Date          12      /13/2019
                                             Signature of attorney for debtor                                             MM      /DD /YYYY



                                            Elihu E. Allinson, Ill
                                            Printed name
                                             Sullivan Hazeltine Allinson LLC
                                            Firm name
                                            901             North Market Street, Suite 1300
                                            Number         Street
                                            Wilmington                                                            DE               19801
                                            City
                                                                                                                  -State- --       ZIP Code

                                            302-428-8191                                                           zallinson@sha-llc.com
                                            Contact phone                                                         Email address



                                            3476                                                                  DE
                                            Bar number                                                            State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
              Case 19-12670-JTD          Doc 1     Filed 12/13/19      Page 5 of 33




                   RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                             VECTOR LAUNCH INC.

        The Board of Directors (the "Board") of Vector Launch Inc. ("Vector" or the
"Company"), a Delaware corporation, has adopted the following resolutions (the "Resolutions")
at a special meeting of the Board held on November 25, 2019.

         WHEREAS, the Board has reviewed information regarding: (i) the Company's assets,
liabilities, and liquidity; (ii) the strategic alternatives available to the Company, and (iii) the
potential impacts of the foregoing on the Company's business.

        WHEREAS, the Board has received, reviewed, and evaluated the financing and
restructuring alternatives available to the Company, including, (i) an equity or debt (including
debtor-in-possession) financing; (ii) a reorganization; (iii) a sale of certain assets of the Company;
and (iv) seeking relief under chapter 7 or chapter 11 of title 11 of the United States Code (the
"Bankruptcy Code") and the filing of a voluntary petition pursuant to one of those chapters; and
(v) any other strategic alternatives available to the Company (collectively, the "Options").

        WHEREAS, the Board has the power and authority to approve any of the Options or any
other strategic alternative available to the Company.

        WHEREAS, the Board has reviewed-and approved the Company entering into-that
certain Bridge Loan and Security Agreement (together with all exhibits thereto, the "Agreement"),
dated as of November 20, 2019 by an among (a) Vector, (b) Garvey Spacecraft Corporation
("Garvey"), and (c) Lockheed Martin Corporation ("Lockheed").

        WHEREAS, the Agreement (i) provided for a $500,000 secured loan for the Company
from Lockheed; (ii) contemplates the Company and Garvey filing voluntary petitions for relief
under chapter 11 of the Bankruptcy Code; and (iii) provides for a sale of the Company's Galactic
Sky-related assets to Lockheed pursuant to Bankruptcy Code section 363, subject to higher and
better offers and post-petition debtor-in-possession financing in an aggregate principal amount of
not more than $2.5 million (the "DIP Facility").

        WHEREAS, the Board has determined that (i) a sale of the Company's Galactic Sky-
related assets to Lockheed pursuant to Bankruptcy Code section 363, subject to higher or better
offers, as set forth in the Agreement, (ii) entry into the DIP Facility, (iii) a sale or sales of the
Company's non-Galactic Sky-related assets pursuant to an auction or other process designed to
maximize value, and (iv) the Company's filing of a voluntary chapter 11 petition is in the best
interests of the Company, its creditors, and other interested parties.

        NOW, THEREFORE, BE IT RESOLVED, that Shaun Martin, the Company's duly
appointed Chief Restructuring Officer (the "CRO"), is authorized and empowered to execute,
verify and file on the Company's behalf a petition under chapter 11 of the Bankruptcy Code, and
all other petitions, motions, pleadings, applications, exhibits, schedules, lists, and other papers,
instruments, or documents contemplated under the Agreement or otherwise, and take and perform
any and all further actions and steps that the CRO deems necessary, desirable, and proper to obtain




                                                                                          4837-3871-5054
              Case 19-12670-JTD          Doc 1       Filed 12/13/19     Page 6 of 33




such relief under the provisions of the Bankruptcy Code, and to cause the same to be filed in the
United States Bankruptcy Court for the District of Delaware, at such time as the CRO shall
determine, consistent with the Company's obligations under the Agreement; and it is

        FURTHER RESOLVED, that the previous retention by the Company of the law firm of
Pillsbury Winthrop Shaw Pittman LLP ("Pillsbury") as bankruptcy counsel to represent and assist
the Company in connection with its consideration of various insolvency-related obligations and
bankruptcy alternatives, to assist the Company in carrying out its duties under chapter 11 of the
Bankruptcy Code, and to take any and all actions necessary to advance the Company's rights in
connection therewith, is approved and ratified, and the CRO is authorized and directed to execute
and ratify appropriate retention agreements and to cause to be filed an appropriate application for
authority to retain Pillsbury; and it is

        FURTHER RESOLVED, that the CRO is authorized and empowered to employ on the
Company's behalf other professionals necessary to assist the Company in carrying out its duties
under the Bankruptcy Code; and in connection therewith, the officers of the Company are
authorized and directed to execute appropriate retention agreements and cause to be filed
appropriate applications with the bankruptcy court for authority to retain the services of any other
professionals, as necessary, and on such terms as are deemed necessary, desirable and proper; and
it is

         FURTHER RESOLVED, that any and all actions heretofore taken by the CRO, the
Company's acting chief executive officer, or the Board in the name and on behalf of the Company
in furtherance of the purpose and intent of any or all of the foregoing Resolutions are hereby
ratified, confirmed, and approved in all respects.


                                    [Signature Page Follows]




                                                 2
                                                                Vector Launch Inc. Board of Directors Resolutions
                                                                        Authorizing Chapter 11 Bankruptcy Filing
            Case 19-12670-JTD      Doc 1    Filed 12/13/19     Page 7 of 33




     IN \VITNESS WHEREOF. the Widersigned, being all the members of the Board of the
Company, hereby execute these Resolutions as of November 25, 2019.

                                        BOARD:                  ~#'

                                           ~-~
                                        ~~ir


                                        John Garvey, Member



                                        Shaun Coleman, Member



                                        Avi Lindenbaum~ Member




                                           3
                                                        Vector L1tunch Jno. Board of Directors ResoJution ;;
                                                                Aulhori:i:ing Chapter 11 Baokruploy f'iling
           Case 19-12670-JTD       Doc 1       Filed 12/13/19     Page 8 of 33




     IN WITNESS WHEREOF, the undersigned, being.all the members of the Board of the.
Company, hereby execute these Resolutions as of November 25, 2019.

                                       BOARD:


                                       James Palmer, Chair




                                       Sha.un Coleman, Member



                                       Avi Lindenbaum, Member




                                           3
                                                          Vector Laun9h Inc. Board of.Oireetors Resolutions
                                                                  Authorizing Chapter It Bankruptcy Filing
            Case 19-12670-JTD      Doc 1       Filed 12/13/19     Page 9 of 33




     IN WITNESS WHEREOF, the undersigned, being all the members of the Board of the
Company, hereby execute these Resolutions as of November 25, 2019.

                                       BOARD:


                                       James Palmer, Chair




                                       Avi Lindenbaum, Member




                                           3
                                                          Vector Launch Inc. Board of Directors Resolutions
                                                                  Authorizing Chapter 11 Bankruptcy Filing
          Case 19-12670-JTD       Doc 1   Filed 12/13/19     Page 10 of 33




     IN WITNESS WHEREOF, the undersigned, being all the members of the Board of the
Company, hereby execute these Resolutions as of November 25, 2019.

                                       BOARD:


                                       James Palmer, Chair



                                       John Garvey, Member



                                       Shaun Coleman, Member



                                       Avi Lindenbaum, Member




                                          3
                                                       Vector Launch Inc. Board of Directors Resolutions
                                                               Authorizing Chapter 11 Bankruptcy Filing
                                     Case 19-12670-JTD                    Doc 1          Filed 12/13/19                Page 11 of 33



        Fill in this information to Identify the case:

        Debtor Name : Vector Launch Inc.

                                                         District of Delaware
                                                                                                                                             0   Check if this is an
        United States Bankruptcy Court for the :
                                                                                                                                                 amended filing
       Case Number (If known):         19-




   Official Form 204
   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
   Unsecured Claims and Are Not Insiders                                                                                                                           12/15
   A list of creditors holding the 20 largest unsecured claims must be flied in a Chapter 11 or Chapter 9 case. Include claims which the debtor
   disputes. Do not Include claims by any person or entity who is an Insider, as defined in 11 U.S.C. § 101 (31 ). Also, do not Include claims by
   secured creditors, unless the unsecured claim resulting from Inadequate collateral value places the creditor among the holders of the 20
   largest unsecured claims.


       Name of creditor and complete malllng    Name, telephone number,         N11ture of tho c!alm   Indicate If     Amount of unsecured claim
       addre88, Including zip code              and email address of            (for example, ti:ade   clalmla         If the claim la fully unsecured, fill In ~nly un88cured
                                                creditor contact                dqbtf, tiank loans,    contingent,     clalm amount. If clalm la partlally secured, flll In total




                                                                                                                                                         J" " "
                                                                                professlonal           unllquldated,   clalm amount and deduction for value of collateral or
                                                                                aervlcell, and         or dlapllted    Htoff to calculate unsecured claim.
                                                                                government
                                                                                contranta)
                                                                                                                       T.,.I o•lm, •     , O•d,ct<o
                                                                                                                       partially secured : for value of         claim
                                                                                                                                         . collateral or
                                                                                                                                         j setoff

   1       VALCOR AEROSPACE                     CON 1ACT: LARRY WISMER          TRADE                                                                                $1,056,268.76
           ATTN: LARRY WISMER                   PHONE: 951·500-3795
           2 LAWRENCE ROAD                      FAX: 973-467-8382
           SPRINGFIELD, NJ 07081                LARIWWISMER@VALCOR.CO
                                                M·
                                                NICOLE.CHANDLER@VALCOR
                                                .COM

   2       BBRIDGE CAPITAL I, LP                CONTACT: PRESIDENT OR           CONVERTIBLE NOTE                                                                        $450,000.00
           PMB 29, BOX 10001                    GENERAL COUNSEL                 HOLDER
           SAIPAN 96950                         PHONE: 670-322- 2222
           MP                                   INFO@>llCCNMl.COM

   3       EXPANDING TFO I, LP                  CONTACT: LEONARDO               CONVERTIBLE NOTE                                                                        $300,000.00
           500 CALIFORNIA STREET, 11 TH         SALGADO                         HOLDER
           FLOOR                                PHONE: 415 606-9209
           SAN FRANCISCO, CA 94109              INFO@XCAP.VC

   4       CIMARRON COMPOSITES                  CONTACT: TOM DELAY              TRADE                                                                                   $298,472.26
           ATTN: TOM DELAY                      PHONE : 256·851-5077
           4912 MOORES MILL ROAD                FAX: 256 -705-1487
           HU NT5VI LLE, AL 35811               INrQ@lCIMARRONCOMPOSIT
                                                ES .COM

   5       M4 ENGINEERING INC                   CONfACT: MYLES BAKER,           TRADE                                                                                   $249,830.00
           MYLES BAKER, MICHELLE                MICHELLE DARLINGTON
           DARLINGTO                            PHONE: 562-981-7792 X221
           4020 LONG BEACH BLVD                 MYLES .BAKER@M4-
           LONG BEACH, CA 90807                 ENGINEERING .COM;
                                                MDARLINGTON@M4-
                                                ENGINEERING.COM
                            -----
   6       BROADMONT ASSOCIATES                 CONTACT: ROBERT DRAPER          LITIGATION                C,U,D                                                         $175,000.00
           6160 EAST BROADWAY BLVD              PHON E: 520-747-8000
           TUCSON, AZ 85711                     BUCl<ORILY@PRODIGY.NET




Official Form 204                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                               Page 1
                                 Case 19-12670-JTD                    Doc 1       Filed 12/13/19                Page 12 of 33

   Debtor: Vector Launch Inc.                                                                     Case Number (if known): 19-

  I Nama of creditor and completunalllng
    addreBB, Including zip code
                                           Narne, telephone number,
                                           and omall address of
                                           credltbr conflict
                                                                         Nature of.the claim
                                                                        ·1ror example, trade
                                                                         ilebts 1 bank loans,
                                                                                                lndlc;ate It
                                                                                                clafm la
                                                                                                contlng_ent,
                                                                                                              Amount of unsecured claim
                                                                                                              Jr the claim 111-(ully unsecured, 011 In O!llY uflBll.C\lfed
                                                                                                              clalm11mounl It claim la part1ally secured, fill In fOtal
                                                                         professional           unllquldated, clalm amount and deduction for llalue of collateral or
                                                                         aorvlc.ea, and         o~ dleputed   <l'etoff to oa.lculale uni ecuted claim.
                                                                         go:,.temmont
                                                                         contract.a)
                                                                                                                 Total claim, If
                                                                                                                 partially secured
                                                                                                                                       Oeduc:llon
                                                                                                                                       for value of
                                                                                                                                       collateral or
                                                                                                                                       setoff
                                                                                                                                                       l"'""~'
                                                                                                                                                         claim




   7     RINCON ETAL INVESTMENTS           CONTACT: ROBERT DRAPER       LITIGATION                 C,U,D                                                         $175,000.00
         6160 EAST BROADWAY BLVD           PHONE: 520-747-8000
         C/O ROBERT DRAPER                 ROBD@ORIELLY.COM;
         TUCSON, AZ. 85711                 ROBERT.DRAPER@ORIELLY.C
                                           OM

   8     GREGORY LOBODA                    CONTACT: GREGORY LOBODA WAGE AND                                                                                      $165,061.53
         17712 STANFIELD CIRCLE            PHONE: 413-265-3305     SEVERANCE
         HUNTINGTON BEACH, CA 92649        GREGLOBODA@GWIZ.TECH


   9     AAE AEROSPACE                     CONTACT: MONICA       TRADE                                                                                           $158,799.56
         ATIN: MONICA GONZALEZ             GONZALEZ
         5382 ARGOSY AVENUE                PHONE: 714-898-9951
         HUNTINGTON BEACH, CA 92649        MONICAGONZALEZ@AAEAER
                                           OSPACE.COM

   10    ROBERT CLEAVE                     CONTACT: ROBERT CLEAVE       SEVERANCE                                                                                $140,000.00
         1047 SAN CARLOS AVENUE            PHONE: 650-728-7842
         HALF MOON BAY, CA 94019           ROBERT@CLEAVl:.NET

   11    JOHN METZGER                      CONTACT: JOHN METZGER        SEVERANCE                                                                                $132,500.00
         1365 HARRIET AVENUE               PHONE; 408-888-1358
         CAMPBELL, CA 95008                JOHNEMETZGER@ATT.NET

   12    GREG AMMIRATI                     CONTACT: GREG AMMIRATI       SEVERANCE                                                                                $125,000.00
         1005 DAKOTA DR                    PHONE: 312-550-5173
         WOODSTOCK, IL 60098               GREG.AMMIRATl@SBCGLOB
                                           AL.NET

   13   PERRY FRAHM                        CONTACT; PERRY FRAHM         SEVERANCE                                                                                $125,000.00
        7971 N WADE SPRINGS DR             PHONE: 520-401-8537
        TUCSON, AZ 85743                   FRAHMPH@COMCAST.NET

   14   GAS INNOVATIONS                    CONTACT: JACK MCCULLOCH      TRADE                                                                                    $106,121.28
        ATIN : JflCK MCCULLOCH             PHONE: 281-471-2200
        18005 HIGHWAY 225                  FAX: 281-471-2201
        LA PORTE, TX 77571                 JACK@GASINNOVATIONS.CO
                                           M


   15   DORANDEZ, LLC                      CONTACT: CARLOS              CONVERTIBLE NOTE                                                                         $100,000.00
        CARLOS FERNANDEZ                   FfHNANl.lEZ                  HOLDER
        801 DOUGLAS AVE                    f' l ION E: 520-364·6490
        DOUGLAS, AZ 85607                  HALF_ ~@ H OTM AI LCOM

   16   DOUGLAS NELSON                     CONTACT: DOUGLAS NELSON SEVERANCE                       C,U,D                                                         $100,000.00
        6710 N. MAMARONICK DR.             PHONE; 520-631·4989
        TUCSON, AZ 85718                   DWARDNELSON@AOL.COM


   17   MARTIN FOX                         CONTACT: MARTIN FOX          CONVERTIBLE NOTE                                                                         $100,000.00
        6050 S COUNTRY CLUB RD             PHONE: (520) 547-0921        HOLDER
        STE 180                            MARTYFOXS@GMAIL.COM
        TUCSON, AZ 85706
         ---           - --
   18   PAUL DEHERRERA                     CONTACT; PAUL DEHERRERA      CONVERTIBLE NOTE                                                                         $100,000.00
        5208 N FOOTHILLS DR,               PHONE: 303-593-2349          HOLDER
        TUCSON, AZ 85718                   PDE4115@GMAIL.COM


   19   PRAXAIR                            CONTACT: AMANDA HULL         TRADE                                                                                     $95,548.29
        DEPT LA 21511                      PHONE: 661-948-8508
        PASADENA, CA 91185-1511            FAX: 800-266-4369
                                           AMANDA_HULL@PRAXAIR.C
                                           OM


Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Clalms                                             Page 2
                                 Case 19-12670-JTD                  Doc 1       Filed 12/13/19                Page 13 of 33
   Oebtor: Vector Launch Inc.                                                                   Case Number (if known): 19-

    Name;of croilltor and complate.malllng   Name, teluP.hone number,   Nature of the claim   Indicate If     Amount of uneO(ltirod claim
    addresa, lnoluding zJp code              and omall address of       (for example, trade   oh1lmls         If the claim la fully unsecured, n111n only unsecured
                                             creditor contact -         debts, bank loans,    contlngont,     cla1im·amount. If claim la partially eecured, fill in total
                                                                        profeulonal           unllqUldated,   claim ·amount and daduollon for value or coUatoral or
                                                                        services, and         or disputed     setoff to calculate uneocured claim.
                                                                        oovemmont
                                                                        contract&)
                                                                                                              Total claim, II
                                                                                                              partially aocurod
                                                                                                                                   I Deduction
                                                                                                                                     for value of
                                                                                                                                                        Unsecured
                                                                                                                                                        clalm
                                                                                                                                     collateral or
                                                                                                                                     eetoff          I
   20    CIP REAL ESTATE PROPERTY            CONTACT: TERRY ELIA        PROPERTY LEASE                                                                          $77,271.04
         SERVICES                            FAX: 949-474-2101
         ATTN: TERRY                         TELIA@CIPREALESTATE.COM
         19762 MACARTHUR BLVD 300
         IRVINE, CA 92612




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Clalms                                           Page 3
                Case 19-12670-JTD               Doc 1      Filed 12/13/19         Page 14 of 33




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    Vector Launch Inc., et al., 1                                   Case No. 19-- - --

                              Debtors.                              (Joint Administration Requested)


                               CORPORATE OWNERSHIP STATEMENT

Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(l) and 7007.1, the undersigned
certifies that the following are entities, other than Vector Launch Inc. or a governmental unit, that
directly or indirectly own(s) 10% or more of any class of Vector Launch Inc.' s equity interests:

    Entitv                                                                       Address

    Kodem Growth Partners                                                        650 Fifth Avenue
      (equity interests held by:                                                 35th Floor
      Kodem Vector Investment LP                                                 New York, NY 10019
      Kodem Vector Investment II LP
      Kodem Vector Investment III LP)


    Sequoia Capital                                                              2800 Sand Hill Road
       (equity interests held    by:                                             Suite 101
       Sequoia Capital U.S.      Venture Fund XV, L.P.                           Menlo Park, CA 94025
       Sequoia Capital U.S.      Venture Partners Fund XV (Q), L.P.
       Sequoia Capital U.S.      Venture Partners Fund XV, L.P.
       Sequoia Capital U.S.      Venture XV Principals Fund, L.P.)


    Shasta Ventures V, L.P.                                                      2440 Sand Hill Road
                                                                                 Suite 300
                                                                                 Menlo Park, CA 94025


    Lightspeed Venture Partners XI, L.P.                                         2200 Sand Hill Road
                                                                                 Menlo Park, CA 94025



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
    number, are: Vector Launch Inc [4147] and Garvey Spacecraft Corporation [4794]. The Debtors' address is:
    PO Box 14928, Long Beach, CA 90853-4928.


                                                                                                      4836-7051-1790.vl
            Case 19-12670-JTD       Doc 1    Filed 12/13/19    Page 15 of 33




Debtor Garvey Spacecraft Corporation is 100% owned by Vector Launch Inc.

Wilmington, Delaware
Date: December 13, 2019                  Respectfully submitted,
                                         Isl Shaun Martin
                                         Shaun Martin
                                         Chief Restructuring Officer
                                         Vector Launch Inc.




                                            2
                                                                           4836-7051-1790.vl
                         Case 19-12670-JTD                   Doc 1        Filed 12/13/19             Page 16 of 33


                                              United States Bankruptcy Court
                                                           District of Delaware
 In re: Vector Launch Inc.                                                                            Case No. 19-
                                                                    Debtor(s)



                                     LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) of the Federal Rules of
Bankruptcy Procedure for filing in this Chapter 11 Case.

Name and last known address or place of                                         Security Class           Number of             Kind of
business of holder                                                                                        Securities           Interest

9931961 CANADA INC.                                                             SERIES A                      102,050      PREFERRED
258 BEACON ROAD                                                                 PREFERRED
KIRKLAND, QUEBEC H9J 2G4

AGM CONTAINER CONTROL, INC.                                                     SERIES B                      260, 758     PREFERRED
DEFINED BENEFIT PENSION PLAN                                                    PREFERRED
3526 E FORT LOWELL ROAD
TUCSON, AZ 85215

AGM CONTAINER CONTROLS, INC.                                                    SERIES A                       81,125      PREFERRED
DEFINED BENEFIT PENSION PLAN                                                    PREFERRED
PO BOX 40020
TUCSON, AZ 85717

ALEX EL-NEMER                                                                   SERIES B                        ·3,261     PREFERRED
                                                                                PREFERRED

ARCH PARTNERS LLC                                                               SERIES A                       10,106      PREFERRED
P.O. BOX 31597                                                                  PREFERRED
TUCSON, AZ 85751-1597

ARIZONA VECTOR INVESTORS II, LLC                                                SERIES B                       42,073     PREFERRED
ATIN: JAMES GOULKA                                                              PREFERRED
2824 N POWER RD.
STE 113-113
MESA, AZ 85215

ARIZONA VECTOR INVESTORS LLC                                                    SERIES A                       73,579     PREFERRED
ATIN: JAMES GOULKA                                                              PREFERRED
2824 N POWER RD.
STE 113-113
MESA, AZ 85215

AS BRAHMS FUND LLC                                                              SERIES B                     195,564      PREFERRED
6510 MILLROCK DRIVE                                                             PREFERRED
SALT LAKE CITY, UT 84117

AVGF- PAV VECTOR 2018, LLC                                                      SERIES B                      81,535      PREFERRED
                                                                                PREFERRED

A-VSX-11 -FUND, A SERIES OF                                                    SERIES A                       33,486      PREFERRED
ANGELLIST-DYTA-FUNDS, LLC                                                      PREFERRED
C/O ASSURE FUND MANAGEMENT, LLC
PO BOX 171305
SALT LAKE CITY, UT 84117

Sheet 1of17 in List of Equity Security Holders
                      Case 19-12670-JTD           Doc 1        Filed 12/13/19         Page 17 of 33


 In re: Vector Launch Inc.                                                            Case No.    19-
                                                         Debtor(s)



                              LIST OF EQUITY SECURITY HOLDERS
                                                 (Continuation Sheet)




 Name and last known address or place of                             Security Class     Number of           Kind of
 business of holder                                                                     Securities          Interest

 A-VSX-11-PR-2-FUND, A SERIES OF                                     SERIES B                13,763      PREFERRED
 ANGELLIST-DYTA-FUNDS, LLC                                           PREFERRED
 DO ASSURE FUND MANAGEMENT, LLC
 PO BOX 171305
 SALT LAKE CITY, UT 84117

A-VSX-11-PR-FUND, A SERIES OF                                        SERIES B                19,417      PREFERRED
ANGELLIST-CYTA-FUNDS, LLC                                            PREFERRED
C/O ASSURE FUND MANAGEMENT, LLC
PO BOX 171305
SALT LAKE CITY, UT 84117

BARBARA LOOSCH                                                       SERIES A                    3,042   PREFERRED
230 SE TRESSLER DR.                                                  PREFERRED
TUCSON, AZ 85750

BARBARA LOOSCH                                                       SERIES B                     815    PREFERRED
230 SE TRESSLER DR.                                                  PREFERRED
TUCSON, AZ 85750

BHAVESH PATEL                                                        SERIES A                13,925      PREFERRED
7432 RODNEY CT.                                                      PREFERRED
CINCINNATI, OH 45241

BRANDON BECK                                                         SERIES A                55,953      PREFERRED
5042 WILSHIRE BLVD.,                                                 PREFERRED
#32647
LOS ANGELES, CA 90036

BRIAN ELLERMAN                                                     SERIES A                  10,222      PREFERRED
1901 N TUCSON BLVD.                                                PREFERRED
TUCSON, AZ 85716

BRIAN KSENAK                                                       SERIES B                 32,614       PREFERRED
1901 N TUCSON BLVD.                                                PREFERRED
TUCSON, AZ 85716

BRIAN ZEILER                                                       SERIES B                 13,830       PREFERRED
2647 E. PLATEAU DR.                                                PREFERRED
BOISE, ID 83712

BRIAN ZEILER                                                       SERIES A                 31,067       PREFERRED
2647 E. PLATEAU DR.                                                PREFERRED
BOISE, ID 83712




Sheet 2of17 in List of Equity Security Holders
                        Case 19-12670-JTD           Doc 1        Filed 12/13/19         Page 18 of 33


 In re:   Vector Launch Inc.                                                            Case No. 19-
                                                                                               ~~~~~~~~-




                                                           Debtor(s)



                               LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class     Number of        Kind of
business of holder                                                                         Securities      Interest

CAR PARTNERS II LLC                                                    SERIES B                4,892    PREFERRED
ATIN: RANDY BRUNSCHWIG,                                                PREFERRED
MANAGING MEMBER
9041 EAST WESLEY DRIVE
DENVER, CO 80231

CAR PARTNERS II LLC                                                    SERIES A               13,943    PREFERRED
ATIN: RANDY BRUNSCHWIG,                                                PREFERRED
MANAGING MEMBER
9041 EAST WESLEY DRIVE
DENVER, CO 80231

CHAD BALTRUSCH                                                         SERIES B               27,612    PREFERRED
PO BOX 474                                                             PREFERRED
WADDELL, AZ 85355

CHRIS MCCORMICK                                                        SERIES A               27,932    PREFERRED
1810 ARAPAHOE ST.                                                      PREFERRED
GOLDEN, CO 80401

CLEAVE FAMILY REVOCABLE TRUST CLEAVE                                   SERIES B                9,727    PREFERRED
1047 SAN CARLOS AVENUE                                                 PREFERRED
HALF MOON BAY, CA 94019

COLIN CANTRELL                                                         SERIES A                8,100    PREFERRED
824 E 16TH ST.                                                         PREFERRED
TUCSON, AX 85719

COLLEEN SKEE                                                           SERIES A                2,021    PREFERRED
30 FIELDWAY DR.                                                        PREFERRED
STUART, FL 34996

DANIEL FLORES                                                          SERIES B               32,614    PREFERRED
                                                                       PREFERRED

DAVID COHEN                                                            SERIES A               22,233    PREFERRED
4958 E GARRISON CT                                                     PREFERRED
TUCSON, AZ 85712-6604

DAVID COHEN                                                            SERIES B                4,076    PREFERRED
4958 E GARRISON CT                                                     PREFERRED
TUCSON, AZ 85712-6604

DAVID FISHMAN                                                        COMMON                    1,979    COMMON
2818 W. SIMPLICITY DR.                                               SHARES
TUCSON, AZ 85741




Sheet 3 of 17 in List of Equity Security Holders
                      Case 19-12670-JTD           Doc 1        Filed 12/13/19         Page 19 of 33


 In re: Vector Launch Inc.                                                            Case No. 19-
                                                         Debtor(s)



                                LIST OF EQUITY SECURITY HOLDERS
                                                 (Continuation Sheet)




Name and last known address or place of                              Security Class     Number of       Kind of
business of holder                                                                      Securities      Interest

DAVINCI CAPITAL                                                      SERIES A               61,854   PREFERRED
FERROCARRIL DE CUERNAVACA                                            PREFERRED
76, lOTH FLOOR, COL. LOMAS
DE CHAPULTEPEC I MEXICO DF CP
11000
MEXICO

DESERT SIDECAR VII, LLC                                              SERIES A               15,165   PREFERRED
631 N. 5TH AVE.                                                      PREFERRED
TUCSON, AZ 85705-8421

DESERT SIDECAR VIII, LLC                                             SERIES B               11,350   PREFERRED
C/O CURTIS GUNN                                                      PREFERRED
631 N. 5TH AVE.
TUCSON, AZ 85705-8421

DllXA PATEL                                                          SERIES A               13,925   PREFERRED
966 INDIAN WELLS AVE.                                                PREFERRED
SUNNYVALE, CA 94085

DOUGLAS FORD                                                         SERIES B               16,306   PREFERRED
108 WALNUT AVE                                                       PREFERRED
WAYNE,, PA 19087

DRAPER NEXUS PARTNERS II, LLC                                        SERIES B               44,043   PREFERRED
55 EAST 3RD AVE                                                      PREFERRED
SAN MATEO, CA 94401

DRAPER NEXUS TECHNOLOGY PARTNERS II, LP                              SERIES B              797,490   PREFERRED
55 EAST 3RD AVE                                                      PREFERRED
SAN MATEO, CA 94401

DRAPER NEXUS TECHNOLOGY PARTNERS                                     SERIES B              159,458   PREFERRED
JAPAN II, LP                                                         PREFERRED
55 EAST 3RD AVENUE
SAN MATEO, CA 94401

DUNG NGUYEN                                                        COMMON                    5,400   COMMON
12051 HAGA STREET                                                  SHARES
GARDEN GROVE, CA 92841

DYLAN TAYLOR                                                       SERIES B                 13,270   PREFERRED
8 S. LILHAVEN LN                                                   PREFERRED
LITILETON, CO 80123

DYLAN TAYLOR                                                       SERIES A                 24,284   PREFERRED
8 S. LILHAVEN LN                                                   PREFERRED
LITTLETON, CO 80123

Sheet 4of17 in List of Equity Security Holders
                        Case 19-12670-JTD           Doc 1       Filed 12/13/19          Page 20 of 33


 In re:   Vector Launch Inc.                                                            Case No. 19-
                                                           Debtor(s)



                               LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




 Name and last known address or place of                               Security Class     Number of       Kind of
 business of holder                                                                       Securities      Interest

 EDWARD SALABOR AND ERIKA SALABOR                                      SERIES A               24,293   PREFERRED
 2884 TAHOE DRIVE                                                      PREFERRED
 LIVERMORE, CA 94550

EINSTEIN-SIM, LLC                                                      SERIES A               20,182   PREFERRED
ATTN: STEVE SIM                                                        PREFERRED
5650 PASEO DEL FUENTE
TUCSON, AZ 85750

EMERALD ADAIR                                                          COMMON                 10,937   COMMON
40 N SUNTAN DR                                                         SHARES
VAIL, AZ 85641

ERIC BESNARD                                                           COMMON                800,000   COMMON
45 60TH PLACE                                                          SHARES
LONG BEACH, CA 90803

ERIC KNADLER                                                           COMMON                    450   COMMON
10222 E GRAY HAWK DR.                                                  SHARES
TUCSON, AZ 85730

ERIC SCHILLER                                                          SERIES A               10,305   PREFERRED
32 CAROL ROAD                                                          PREFERRED
WESTFIELD, NJ 07090

ERNEST J. MAUNE                                                        SERIES A               34,357   PREFERRED
539 UTICA DRIVE                                                        PREFERRED
SUNNYVALE, CA 94087

ERNEST J. MAUNE                                                        SERIES B                9,734   PREFERRED
539 UTICA DRIVE                                                        PREFERRED
SUNNYVALE, CA 94087

FLOYD G. HOFFMAN, LLC                                                  SERIES B                  815   PREFERRED
11745 E. CHARTER OAK DRIVE                                             PREFERRED
SCOTTSDALE, AZ 85259

GARRETT JOHN KOWALEWSKI                                                SERIES A               10,146   PREFERRED
1201 EAST SILVERTREE DRIVE                                             PREFERRED
TUCSON, AZ 85718

GARRETT JOHN KOWALEWSKI                                              SERIES B                  4,857   PREFERRED
1201 EAST SILVERTREE DRIVE                                           PREFERRED
TUCSON, AZ 85718

GARRETT KATZENSTEIN                                                  SERIES B                 19,452   PREFERRED
3338 KALLIN AVE                                                      PREFERRED
LONG BEACH, CA 90808

Sheet 5 of 17 in List of Equity Security Holders
                        Case 19-12670-JTD         Doc 1        Filed 12/13/19         Page 21 of 33


 In re:   Vector Launch Inc.                                                          Case No. 19-
                                                                                             ~~~~~~~~-




                                                         Debtor(s)



                               LIST OF EQUITY SECURITY HOLDERS
                                                 (Continuation Sheet)




Name and last known address or place of                              Security Class     Number of        Kind of
business of holder                                                                       Securities      Interest

GARRETI KATZENSTEIN                                                  COMMON                  4,427    COMMON
3338 KALLIN AVE                                                      SHARES
LONG BEACH, CA 90808

GARRY BRAV 678 TRUST                                                 SERIES A               40,364    PREFERRED
700 EAST BROADWAY                                                    PREFERRED
SUITE 200
TUCSON, AZ 85719

GARRY BRAV 678 TRUST                                                 SERIES B               16,307    PREFERRED
700 EAST BROADWAY                                                    PREFERRED
SUITE 200
TUCSON, AZ 85719

GRAHAM FAMILY INVESTMENTS, LLC                                       SERIES B               32,450    PREFERRED
602 75TH WAY NE                                                      PREFERRED
OLYMPIA, WA 98506

HARPREET LABANA                                                      SERIES A               10,380    PREFERRED
295 SAW MILL RIVER ROAD                                              PREFERRED
MILLWOOD, NY 10546

HARSH JARIWALA                                                       SERIES A               92,456    PREFERRED
199 ACALANES DR. APT 14                                              PREFERRED
SUNNYVALE, CA 94086

HOWARD N. STEWART                                                    SERIES B               45,613    PREFERRED
3526 E FORT LOWELL ROAD                                              PREFERRED
TUCSON, AZ 85716

HOWARD N. STEWART                                                    SERIES A               30,435    PREFERRED
3526 E FORT LOWELL ROAD                                              PREFERRED
TUCSON, AZ 85716

HSL PROPERTIES INC.                                                  SERIES A               10,128    PREFERRED
ATIN: HUMBERTO LOPEZ                                                 PREFERRED
3901 EAST BROADWAY BLVD
TUCSON, AZ 85711

HYPERSPEED VENTURES LLC                                              SERIES A               40,419    PREFERRED
310 WASHINGTON BLVD.                                                 PREFERRED
UNIT 601
MARINA DEL REY, CA 90292

INNOCOMM, LLC                                                      SERIES B                  9,730    PREFERRED
7024 CHANNEL VILLAGE COURT, UNIT 101                               PREFERRED
ANNAPOLIS, MD 21403


Sheet 6of17 in List of Equity Security Holders
                      Case 19-12670-JTD           Doc 1        Filed 12/13/19         Page 22 of 33


 In re: Vector Launch Inc.                                                            Case No. 19-
                                                         Debtor(s)



                              LIST OF EQUITY SECURITY HOLDERS
                                                 (Continuation Sheet)




 Name and last known address or place of                             Security Class     Number of        Kind of
 business of holder                                                                      Securities      Interest

 ITOCHU CORPORATION TOKNU SECTION,                                   SERIES B              326,143    PREFERRED
 ITOCHU CORPORATION                                                  PREFERRED

JAMES CANTRELL                                                       SERIES A               14,013    PREFERRED
11421 E. CALLE DEL VALLE                                             PREFERRED
TUCSON, AZ 85749111

JAMES CANTRELL                                                       COMMON               2,000,000   COMMON
11421 E. CALLE DEL VALLE                                             SHARES
TUCSON, AZ 85749fll

JAMES PALMER                                                         COMMON                110,000    COMMON
11447 MORNING GROVE DR                                               SHARES
LAS VEGAS, NV 89135

JAMES RILEY                                                          SERIES A               20,214    PREFERRED
4330 W CAMINO                                                        PREFERRED
PINTOR ESCO
TUCSON, AZ 85745

JANA MESSERSCHMIDT                                                   SERIES A                6,717    PREFERRED
145 LAUREL ST 9                                                      PREFERRED
SAN FRANCISCO, CA 94118

JOHN GARVEY                                                          COMMON              2,000,000    COMMON
389 HAINES AVENUE                                                    SHARES
LONG BEACH, CA 90814

JOHN GARVEY                                                          SERIES A               28,026    PREFERRED
389 HAINES AVENUE                                                    PREFERRED
LONG BEACH, CA 90814

JORDAN FITTERER                                                    COMMON                    1,454    COMMON
4850 E. MELISSA ST.                                                SHARES
TUCSON, AZ 85711

JOSEPH SASSO                                                       SERIES B                 11,052    PREFERRED
WAGNERSTR 12                                                       PREFERRED
DEUTSCH LAND
WEINHEIM 69469
GERMANY

KANEMATSU CORPORATION                                              SERIES A                122,434    PREFERRED
2-1, SHIBAURA 1-CHOME                                              PREFERRED
TOKYO 105-8005
JAPAN




Sheet 7of17 in List of Equity Security Holders
                       Case 19-12670-JTD          Doc 1       Filed 12/13/19          Page 23 of 33


 In re: Vector Launch Inc.                                                            Case No. 19-
                                                                                              ~~~~~~~~~




                                                         Debtor(s)



                              LIST OF EQUITY SECURITY HOLDERS
                                                 (Continuation Sheet)




Name and last known address or place of                              Security Class     Number of        Kind of
business of holder                                                                       Securities      Interest

KEITH WONG                                                           SERIES B                19,440   PREFERRED
7222 E GAINER RANCH ROAD, UNIT 128                                   PREFERRED
SCOTTSDALE, AZ 85258

KEN SUNSHINE                                                         SERIES A                14,013   PREFERRED
33 N. EL MOLINO AVE.                                                 PREFERRED
APT.402
PASADENA, CA 91101

KEN SUNSHINE                                                         COMMON               1,333,333   COMMON
33 N. EL MOLINO AVE.                                                 SHARES
APT.402
PASADENA, CA 91101

KIEL HOGAN                                                           SERIES A               10,279    PREFERRED
7145 SOUTH POLO RIDGE DR.                                            PREFERRED
LITTLETON, CO 80128

KNOLLWOOD INVESTMENT FUND LLC                                        SERIES B              163,071    PREFERRED
217 INTERNATIONAL CIR.                                               PREFERRED
HUNT VALLEY, MD 21030

KODEM VECTOR INVESTMENT II, LP.                                      SERIES B             1,244,542   PREFERRED
GOLEN BOCK EISEMAN ASSOR BELL &                                      PREFERRED
PESKOE LLP, 711 THIRD AVENUE,
ATTENTION: ALEXANDER KAPLUN
NEW YORK, NY 10017

KODEM VECTOR INVESTMENT Ill, LP.                                     SERIES B            1,196,618    PREFERRED
GOLENBOCK EISEMAN ASSOR BELL &                                       PREFERRED
PESKOE LLP, 711 THIRD AVENUE,
ATTENTION: ALEXANDER KAPLUN
NEW YORK, NY 10017

KODEM VECTOR INVESTMENT, LP.                                         SERIES B            1,142,551    PREFERRED
GOLENBOCK EISEMAN ASSOR BELL &                                       PREFERRED
PESKOE LLP, 711 THIRD AVENUE,
ATTENTION: ALEXANDER KAPLUN
NEW YORK, NY 10017

KUNAL RAMBHIA                                                      SERIES A                 13,925    PREFERRED
51 RODGERS DRIVE                                                   PREFERRED
NEW ROCHELLE, NY 10804

KURRENT INVESTMENT LLC                                             SERIES B                 16,307    PREFERRED
2935 HUNTSFORD CIRCLE                                              PREFERRED
HIGHLANDS RANCH, CO 80126


Sheet 8of17 in List of Equity Security Holders
                      Case 19-12670-JTD           Doc 1       Filed 12/13/19          Page 24 of 33


 In re: Vector Launch Inc.                                                            Case No. 19-
                                                                                             ~~~~~~~~-




                                                         Debtor(s)



                              LIST OF EQUITY SECURITY HOLDERS
                                                 (Continuation Sheet)




Name and last known address or place of                              Security Class     Number of        Kind of
business of holder                                                                       Securities      Interest

 KURRENT INVESTMENT LLC                                              SERIES A              255,911    PREFERRED
 2935 HUNTSFORD CIRCLE                                               PREFERRED
 HIGHLANDS RANCH, CO 80126

KURRENT INVESTMENT LLC                                               SERIES B              160,462    PREFERRED
2935 HUNTSFORD CIRCLE                                                PREFERRED
HIGHLANDS RANCH, CO 80126

LIGHTSPEED VENTURE PARTNERS XI, LP.                                  SERIES B              554,443    PREFERRED
2200 SAND HILL ROAD                                                  PREFERRED
MENLO PARK, CA 94025

LIGHTSPEED VENTURE PARTNERS XI, LP.                                  SERIES A              994,196    PREFERRED
2200 SAND HILL ROAD                                                  PREFERRED
MENLO PARK, CA 94025

MAEBEE HOLDINGS LLC                                                  SERIES A              101,192    PREFERRED
ATIN: BRAD EWALT                                                     PREFERRED
2650 E CATCLAW ST.
GILBERT, AZ 85296

MAEBEE HOLDINGS LLC                                                  SERIES B              130,136    PREFERRED
ATIN: BRAD EWALT                                                     PREFERRED
2650 E CATCLAW ST.
GILBERT, AZ 85296

MARCO A. BUSSOTII AND CLAUDIA L BUSSOTI                              SERIES B                4,076    PREFERRED
                                                                     PREFERRED

MATIHEW CONOVER                                                      SERIES A               80,084    PREFERRED
420 WHISMAN COURT                                                    PREFERRED
MT. VIEW, CA 94043

MATIHEW STUART                                                       COMMON                     50    COMMON
9301 N. HAMPSHIRE DR.                                                SHARES
TUCSON, AZ 8S742

MELISSA FITIERER                                                   COMMON                      200    COMMON
4850 E MELISSA ST                                                  SHARES
TUCSON, AZ 85711

MICHAEL & KATINA KOLLER                                            SERIES A                 10,168    PREFERRED
7225 NORTH VILLAGE                                                 PREFERRED
AVENUE
TUCSON, AZ 85704




Sheet 9of17 in List of Equity Security Holders
                        Case 19-12670-JTD            Doc 1        Filed 12/13/19         Page 25 of 33


 In re:   Vector Launch Inc.                                                             Case No.    19-
                                                                                                    ~~~~~~~~~




                                                            Debtor(s)



                               LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class     Number of           Kind of
business of holder                                                                         Securities          Interest

MICHAEL CONOVER                                                         SERIES A                18,138      PREFERRED
1799 EAST 1780 NORTH                                                    PREFERRED
NORTH LOGAN, UT 84341

MICHAEL TANNE                                                           SERIES A                    8,106   PREFERRED
2232 W MIDDLEFIELD ROAD                                                 PREFERRED
MOUNTAIN VIEW, CA 94022

MILA INTUITIVE OBJECTS FUND, LP.                                        SERIES A                30,912      PREFERRED
9340 OWENSMOUTH AVE                                                     PREFERRED
CHATSWORTH, CA 91311

MIRAMAR VENTURES, LLC                                                   SERIES B                22,740      PREFERRED
P.O. BOX 31597                                                          PREFERRED
TUCSON, AZ 85715

MITCH PISIK                                                             SERIES A                10,249      PREFERRED
4901 N AVENIDA DE                                                       PREFERRED
CASTILLA
TUCSON, AZ 85718

NATHAN LIPSCOMB                                                         SERIES A                    8,102   PREFERRED
                                                                        PREFERRED

NAVNEET DALAL                                                           SERIES A                58,961      PREFERRED
61 FREDRICK AVE.                                                        PREFERRED
ATHERTON, CA 94027

NEIL R. SIMON                                                           SERIES B                    4,852   PREFERRED
                                                                        PREFERRED

NICHOLAS KARANGELAN                                                     SERIES A                14,007      PREFERRED
3100 N NELSON ST.                                                       PREFERRED
ARLINGTON, VA 22207

NISHANT DOSHI                                                           SERIES A                24,123      PREFERRED
1168 CORRAL AVE                                                         PREFERRED
SUNNYVALE, CA 94086

NUVIEW TRUST CO. FBO LINDA F. PENN                                      SERIES B                    8,153   PREFERRED
330 S POPLAR AVE                                                        PREFERRED
SUITE 103-M
PIERRE, SD 57501

NUVIEW TRUST CO. FBO R. TONY PENN                                       SERIES B                    8,153   PREFERRED
330 S POPLAR AVE                                                        PREFERRED
SUITE 103-M
PIERRE, SD 57501

Sheet 10 of 17 in List of Equity Security Holders
                      Case 19-12670-JTD            Doc 1        Filed 12/13/19         Page 26 of 33


 In re: Vector Launch Inc.                                                             Case No. 19-
                                                          Debtor(s)



                                 LIST OF EQUITY SECURITY HOLDERS
                                                  (Continuation Sheet)




Name and last known address or place of                               Security Class     Number of        Kind of
business of holder                                                                        Securities      Interest

OAIMK, LLC                                                            SERIES B              178,973    PREFERRED
3573 E SUNRISE DR ., SUITE 225                                        PREFERRED
TUCSON, AZ 85718

OAIMK, LLC                                                            SERIES A              202,297    PREFERRED
3573 E SUNRISE DR., SUITE 225                                         PREFERRED
TUCSON, AZ 85718

OSAGE UNIVERSITY PARTNERS II, LP.                                     SERIES B               55,361    PREFERRED
SO MONUMENT ROAD, SUITE 201                                           PREFERRED
BALA CYNWYD, PA 19004

OSAGE UNIVERSITY PARTNERS II, LP.                                     SERIES A               41,204    PREFERRED
50 MONUMENT ROAD, SUITE 201                                           PREFERRED
BALA CYNWYD, PA 19004

PANAGIOTIS (PETER) VASILIADIS                                         SERIES B               16,306    PREFERRED
25 CRESTLINE RD.                                                      PREFERRED
WAYNE, PA 19087

PAT HOGAN                                                             SERIES A               41,119    PREFERRED
7145 SOUTH POLO RIDGE DR.                                             PREFERRED
LIITLETON, CO 80128

PATRICK BARKER                                                        COMMON                  1,250    COMMON
1530 S CENTINELA AVE, APT 102                                         SHARES
LOS ANGELES, CA 90025

PENSCO TRUST COMPANY, CUSTODIAN                                     SERIES B                 17,903    PREFERRED
FBO (SCOIT LEE), IRA                                                PREFERRED
335 FAIRFAX AVE
SAN MATEO, CA 94402

PESARC HEDGE FUND HOLDINGS LTD .                                    SERIES B                815,357    PREFERRED
C/O MORGAN STANLEY AIP                                              PREFERRED
SUITE 400, 100 FRONT STREET
WEST CONSHOHOCKEN, PA 19428

PREETI RANA                                                         SERIES A                 10,108    PREFERRED
323 CHILTERN CT.                                                    PREFERRED
SAN RAMON, CA 94582

PROVIDENT TRUST GROUP FBO GARREIT                                   SERIES B                 34,959    PREFERRED
KATZENSTEIN IRA                                                     PREFERRED
3338 KAILIN AVE
LONG BEACH, CA 90808




Sheet 11of17 in List of Equity Security Holders
                      Case 19-12670-JTD              Doc 1       Filed 12/13/19          Page 27 of 33


 In re: Vector Launch Inc.                                                               Case No. 19-
                                                            Debtor(s)



                               LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class     Number of        Kind of
business of holder                                                                          Securities      Interest

RICH & VICKI KEFFLER                                                    SERIES A                8,088    PREFERRED
3450 N. FLOWING WELLS,                                                  PREFERRED
#118
TUCSON, AZ 85705

RIVERVIEW STRATEGIC OPPORTUNITIES                                       SERIES B              815,357    PREFERRED
FUND Ill LP                                                             PREFERRED
C/O MORGAN STANLEY AIP
SUITE 400, 100 FRONT STREET
WEST CONSHOHOCKEN, PA 19428

ROBERT & JOANNE HUNGATE                                                 SERIES A                4,062    PREFERRED
5132 N. SOLEDAD PRIMERA                                                 PREFERRED
TUCSON, AZ 85718

ROBERT & MARGARET COLEMAN                                               SERIES A               13,926    PREFERRED
COLEMAN                                                                 PREFERRED
463 YOSEMITE DRIVE
LIVERMORE, CA 94551

ROBERT G. WICK                                                          SERIES B                9,721    PREFERRED
                                                                        PREFERRED

ROUBLE RANA                                                             SERIES A               10,108    PREFERRED
HOUSE 161 WESTWOOD                                                      PREFERRED
GREEN, 55 JINFENG ROAD,
MINHANG, SHANGHAI
201107
CHINA

RYAN M. GEORGE & KIMBERLY M. EVANS                                      SERIES B               19,424    PREFERRED
REVOCABLE TRUST 04212017                                                PREFERRED
11145 N. STARGAZER DRIVE
ORO VALLEY, AZ 85737

RYAN M . GEORGE & KIMBERLY M. EVANS                                     SERIES A               10,104    PREFERRED
REVOCABLE TRUST 04212017                                                PREFERRED
11145 N. STARGAZER DRIVE
ORO VALLEY, AZ 85737

RYAN VERANO                                                           SERIES B                  8,153    PREFERRED
                                                                      PREFERRED

SAV HOLDINGS XI, LLC                                                  SERIES A                115,788    PREFERRED
C/O CHAD ANDERSON                                                     PREFERRED
MANAGING MEMBER
222 BROADWAY, 19 FLOOR,
NEW YORK, NY 10038
Sheet 12 of 17 in List of Equity Security Holders
                      Case 19-12670-JTD              Doc 1       Filed 12/13/19          Page 28 of 33


 In re: Vector Launch Inc.                                                               Case No. 19-
                                                                                                ~~~~~~~~-




                                                            Debtor(s)



                               LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




 Name and last known address or place of                                Security Class     Number of        Kind of
 business of holder                                                                         Securities      Interest

 SAV HOLDINGS XXV LLC                                                   SERIES B              107,588    PREFERRED
 C/O CHAD ANDERSON                                                      PREFERRED
 MANAGING MEMBER
 222 BROADWAY, 19 FLOOR
 NEW YORK, NY 10038

SAV HOLDINGS XXX LLC                                                    SERIES B              207,508    PREFERRED
C/O CHAD ANDERSON                                                       PREFERRED
MANAGING MEMBER
222 BROADWAY, 19 FLOOR
NEW YORK, NY 10038

SBS VENTURES, LLC                                                       SERIES B              407,678    PREFERRED
P.O. BOX 31597                                                          PREFERRED
DAVID SMALLHOUSE
TUCSON, AZ 85751-1597

SBS VENTURES, LLC                                                       SERIES B               48,624    PREFERRED
P.O. BOX 31597                                                          PREFERRED
DAVID SMALLHOUSE
TUCSON, AZ 85751-1597

SBS VENTURES, LLC                                                       SERIES A              101,533    PREFERRED
P.O. BOX 31597                                                          PREFERRED
DAVID SMALLHOUSE
TUCSON, AZ 85751-1597

SEED ACCELERATOR FUND 2014 LLC                                          SERIES A               10,110    PREFERRED
C/O ROBB KUNZ                                                           PREFERRED
150 SOUTH STATE STREET STE 203
SALT LAKE CITY, UT 84111

SEED ACCELERATOR FUND 2017 LLC                                          SERIES A               10,136    PREFERRED
C/O ROBB KUNZ                                                           PREFERRED
150 SOUTH STATE STREET STE 203
SALT LAKE CITY, UT 84111

SEQUOIA CAPITAL U.S. VENTURE FUND XV,                                 SERIES B                821,353    PREFERRED
LP., A CAYMAN ISLANDS EXEMPTED LP                                     PREFERRED
2800 SAND HILL ROAD
SUITE 101
MENLO PARK, CA 94025




Sheet 13 of 17 in List of Equity Security Holders
                      Case 19-12670-JTD            Doc 1        Filed 12/13/19         Page 29 of 33


 In re: Vector Launch Inc.                                                             Case No. 19-
                                                                                              ~~~~~~~~~




                                                          Debtor(s)



                                  LIST OF EQUITY SECURITY HOLDERS
                                                  (Continuation Sheet)




 Name and last known address or place of                              Security Class     Number of        Kind of
 business of holder                                                                       Securities      Interest

 SEQUOIA CAPITAL U.S. VENTURE FUND XV,                                SERIES A             2,507,096   PREFERRED
 LP., A CAYMAN ISLANDS EXEMPTED LP                                    PREFERRED
 2800 SAND HILL ROAD
 SUITE 101
 MENLO PARK, CA 94025

SEQUOIA CAPITAL U.S. VENTURE PARTNERS                                 SERIES A              105,664    PREFERRED
FUND XV (Q), LP., A CAYMN ISLES EXEMPTD LP                            PREFERRED
2800 SAND HILL ROAD
MENLO PARK, CA 94025

SEQUOIA CAPITAL U.S. VENTURE PARTNERS                                 SERIES B               34,616    PREFERRED
FUND XV (Q), LP., A CAYMN ISLES EXEMPTD LP                            PREFERRED
2800 SAND HILL ROAD
MENLO PARK, CA 94025

SEQUOIA CAPITAL U.S. VENTURE PARTNERS                                 SERIES B               12,434    PREFERRED
FUND XV, LP., A CAYMAN ISLANDS EXEMPTD LP                             PREFERRED
2800 SAND HILL ROAD
MENLO PARK, CA 94025

SEQUOIA CAPITAL U.S. VENTURE PARTNERS                                 SERIES A               37,954    PREFERRED
FUND XV, LP., A CAYMAN ISLANDS EXEMPTD LP                             PREFERRED
2800 SAND HILL ROAD
MENLO PARK, CA 94025

SEQUOIA CAPITAL U.S. VENTURE XV                                       SERIES A              385,613    PREFERRED
PRINCIPALS FUND, LP., A CAYMAN                                        PREFERRED
ISLANDS EXEMPTED LP
2800 SAND HILL ROAD, SUITE 101
MENLO PARK, CA 94032

SEQUOIA CAPITAL U.S. VENTURE XV                                     SERIES B                126,331    PREFERRED
PRINCIPALS FUND, LP., A CAYMAN                                      PREFERRED
ISLANDS EXEMPTED LP
2800 SAND HILL ROAD, SUITE 101
MENLO PARK, CA 94032

SERGIO BLACUTI                                                      SERIES B                 16,307    PREFERRED
2700 E EXECUTIVE DR., SUITE 100                                     PREFERRED
TUCSON, AZ 85756

SERGIO BLACUTI                                                      SERIES A                 40,578    PREFERRED
2700 E EXECUTIVE DR., SUITE 100                                     PREFERRED
TUCSON, AZ 85756




Sheet 14of17 in List of Equity Security Holders
                      Case 19-12670-JTD            Doc 1        Filed 12/13/19         Page 30 of 33


 In re: Vector Launch Inc.                                                             Case No. 19-
                                                          Debtor(s)



                                LIST OF EQUITY SECURITY HOLDERS
                                                  (Continuation Sheet)




Name and last known address or place of                               Security Class     Number of        Kind of
business of holder                                                                        Securities      Interest

SERGIO SANCHEZ                                                        SERIES A               24,065    PREFERRED
720 DAWN WAY                                                          PREFERRED
GILROY, CA 95010

SHASTA VENTURES V, LP.                                                SERIES B              505,521    PREFERRED
2440 SAND HILL ROAD, SUITE 300                                        PREFERRED
MENLO PARK, CA 94025

SHASTA VENTURES V, LP.                                                SERIES A             1,612,209   PREFERRED
2440 SAND HILL ROAD, SUITE 300                                        PREFERRED
MENLO PARK, CA 94025

SHAUN COLEMAN                                                         SERIES A               62,117    PREFERRED
23505 ALAMITOS RD                                                     PREFERRED
SAN JOSE, CA 95120

SHELBY LOOSCH                                                         SERIES B                  815    PREFERRED
1401 S. PALMWAY                                                       PREFERRED
LAKE WORTH, FL 33460-5711

SHELBY LOOSCH                                                         SERIES A                3,042    PREFERRED
1401 S. PALMWAY                                                       PREFERRED
LAKE WORTH, FL 33460-5711

SINICORP LLC                                                          SERIES A               10,281    PREFERRED
84 WILLOW AVENUE                                                      PREFERRED
SUITE 6A
HOBOKEN, NJ 07030

SRP GROUP LLC                                                         SERIES A               30,321    PREFERRED
ATIN: HARIT PATEL                                                     PREFERRED
966 INDIAN WELLS AVE.
SUNNYVALE, CA 94085

STEVEN VESTERDAL                                                      SERIES B               16,307    PREFERRED
                                                                      PREFERRED

STREETEDGE CAPITAL, LP                                                SERIES B               51,423    PREFERRED
455 MARKET STREET, SUITE 1140                                         PREFERRED
SAN FRANCISCO, CA 94105

SUSAN AND WILLIAM    scon                                             SERIES B               11,722    PREFERRED
                                                                      PREFERRED

THE ENTRUST GROUP FBO CARMEN PALAFOX                                  SERIES A               10,304    PREFERRED
#7630013595                                                           PREFERRED
3605 HELMS AVE.
CULVER CITY, CA 90232

Sheet 15of17 in List of Equity Security Holders
                      Case 19-12670-JTD            Doc 1        Filed 12/13/19         Page 31 of 33

 In re: Vector Launch Inc.                                                             Case No. 19-
                                                          Debtor(s)



                              LIST OF EQUITY SECURITY HOLDERS
                                                  (Continuation Sheet)




Name and last known address or place of                               Security Class     Number of        Kind of
business of holder                                                                        Securities      Interest

THE GEORGE WASHINGTON UNIVERSITY                                      COMMON                 34,000    COMMON
21211 ST NW                                                           SHARES
WASHINGTON, DC 20052

THE LEE FAMILY TRUST U/A 5/21/2008                                    SERIES A               20,696    PREFERRED
ATTN: SCOTT LEE                                                       PREFERRED
335 FAIRFAX AVE.
SAN MATEO, CA 94402

THE STEPHENS FAMILY TRUST DATED                                       SERIES B                8,153    PREFERRED
JUNE 13, 2006                                                         PREFERRED

TOM CHRISTIE                                                          SERIES A               10,180    PREFERRED
3284 N RAMBLING CREEK PLACE                                           PREFERRED
TUCSON, AZ 85712

TOM CHRISTIE                                                          SERIES B                4,884    PREFERRED
3284 N RAMBLING CREEK PLACE                                           PREFERRED
TUCSON, AZ 85712

TUCSON EMBEDDED SYSTEMS, INC.                                         SERIES B                4,076    PREFERRED
5620 N KOLB ROAD                                                      PREFERRED
SUITE 160
TUCSON, AZ 85750

VANTAGE FBO PATRICK WELCHERT                                          SERIES B                4,076    PREFERRED
SEP IRA #18872                                                        PREFERRED

VIJAYA GADDE                                                          SERIES A               10,214    PREFERRED
350 GREENWICH STREET                                                  PREFERRED
SAN FRANCISCO, CA 94133

VOLANTIS, LLC                                                         SERIES A               10,251    PREFERRED
2800 SAND HILL ROAD                                                   PREFERRED
SUITE 101
MENLO PARK, CA 94025

WELCHERT FAMILY TRUST AMENDED AND                                     SERIES B                4,076    PREFERRED
RESTATED AUGUST 2, 2002                                               PREFERRED

WESLEY SALANDRO                                                     COMMON                    1,500    COMMON
1782 N PLACITA TEJANO                                               SHARES
TUCSON, AZ 85712

WILLIAM R. ASSENMACHER                                              SERIES B                 40,767    PREFERRED
2275 E GANLEY RD                                                    PREFERRED
TUCSON, AZ 85706



Sheet 16of17 in List of Equity Security Holders
                      Case 19-12670-JTD              Doc 1       Filed 12/13/19          Page 32 of 33


 In re: Vector Launch Inc.                                                               Case No. 19-
                                                                                                ~~~~~~~~-




                                                            Debtor(s)


                               LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




 Name and last known address or place of                                Security Class     Number of        Kind of
 business of holder                                                                         Securities      Interest

YUVRAJ MEHTA                                                            SERIES A               10,312    PREFERRED
265 SOUTH BAY VIEW AVENUE                                               PREFERRED
SUNNYVALE, CA 94086




Sheet 17 of 17 in List of Equity Security Holders
                                Case 19-12670-JTD                      Doc 1              Filed 12/13/19             Page 33 of 33

  Fill in this information to identify the case and this filing:


  Debtor Name    Vector Launch Inc.
  United States Bankruptcy Court for the:                                 District of   Delaware
                                            -   -    - -- --       --                   (State)

  Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    1211s

An lndlvldual who Is authorized to act on behalf of a non-lndlvldual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and llabllltles, any other document that requires a declaration that Is not included In the document,
and any amendments of those documents. This form must state the Individual's position or relatlonshlp to the debtor, the Identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case can result In fines up to $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



               Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation ; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         D      Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

         0      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)

         D      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         D      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         0      Schedule H: Codebtors (Official Form 206H)

         D      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         D      Amended Schedule


         Iii    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         D      Other document that requires a declaration._ _ _ __ _ __ _ _ _ __ _ _ __ _ _ _ _ __ _ __ __ _ _




         I declare under penalty of perjury that the foregoing is true and correct.


         Executed on        12/13/2019                            X     Isl Shaun Martin
                            MM I DDIYYYY                              Signature of individual signing on behalf of debtor



                                                                       Shaun Martin
                                                                      Printed name

                                                                       Chief Restructuring Officer
                                                                      Position or relationship to debtor



Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
